
Mam Jolly Fatty Mbengeh, Respondent, 
againstGbengaa Omotayo, Appellant.




Gbengaa Omotayo, appellant pro se and Ololade Ajifowobaje of counsel, for the appellant.
Louis R. Rosenthal, Esq., for respondent (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Noach Dear, J.), entered November 18, 2014. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $14,500.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this action to recover the sum of $23,000 based on an alleged breach of a contract to purchase a car. At a nonjury trial, plaintiff submitted receipts into evidence establishing that she had paid defendant the total sum of $14,500 for the purchase of a car. Defendant admitted to receiving plaintiff's payments. Following the trial, the Civil Court awarded plaintiff the principal sum of $14,500, finding that plaintiff "proved prima facie [that she] is entitled to a judgment against defendant." This appeal by defendant ensued.
In reviewing a determination made after a nonjury trial, this court's power is as broad as that of the trial court, and it may render the judgment it finds warranted by the facts, bearing in mind that the determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Northern Westchester Professional Park Assoc. v Town of Bedford, 60 NY2d 492, 499 [1983]; Hamilton v Blackwood, 85 AD3d 1116 [2011]; Zeltser v Sacerdote, 52 AD3d 824, 826 [2008]; D'Elia v 58-35 Utopia Parkway Corp., 43 AD3d 976, 977-978 [2007]). Upon a review of the record, we find that the Civil Court properly concluded that plaintiff demonstrated her entitlement to an award of $14,500 by a preponderance of the evidence. As the record supports the Civil Court's determination, we find no reason to disturb the judgment.
Accordingly, the judgment is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 23, 2018










